 

J U.S. DISTRICT COURT

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0 R | GB] N A IN THE UNITED STATES — COURT | MAR 22 2079

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FOR THE NORTHERN DISTRICT OF TEXAS

 

FORT WORTH DIVISION — CLERK, U.S, DISTRICT COURT
By
eu
UNITED STATES OF AMERICA Deputy

Vv.

 

 

No. 4:19-cR-Olo®-AA

WILLIE CLAYTON DAVIDSON (01)

FACTUAL RESUME

INFORMATION:

MAXIMUM PENALTY:

Conspiracy to Possess with Intent to Distribute Methamphetamine, in
violation of 21 U.S.C. §§ 846.

 
  

Imprisonment for a period not more than 20 years, PLN ANS
A fine not to exceed $1,000, 000 or both : a fine andimpk sonment:
A supervised-release term of (aa intam-of &years. If the defendant
violates any of the supervised-release conditions, he could be imprisoned
for the entire supervised-release term, resulting in additional prison time;
A $100 mandatory special assessment;

Restitution to victims or to the community, which may be mandatory under
the law, and which the defendant agrees may include restitution arising
from the offense of conviction alone; and

Forfeiture of property.

ELEMENTS OF THE OFFENSE:

The essential elements which must be proved beyond a reasonable doubt in order to
establish the offense charged in the Information are as follows:

First:

Second:

Third:

That two or more persons, directly or indirectly, reached an agreement to
distribute or possess with intent to distribute a controlled substance, as
charged in the Information;

That the defendant knew of the unlawful purpose of the agreement;

That the defendant joined i in the agreement willfully, that is, with the intent
to further its unlawful purpose; and !

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Fourth: That the overall scope of the conspiracy involved a mixture and substance
containing a detectable amount of methamphetamine. -

STIPULATED FACTS:

Beginning in or before January 2018 and continuing until in or around March
2018, in the Fort Worth Division of the Northern District of Texas, and elsewhere,
defendant Willie Clayton Davidson, along with Bobby Campbell, Sonia Cantu, Kyle
D’ Aquilla and others, conspired to possess methamphetamine with the intent to distribute
it. Campbell, Cantu and D’Aquilla obtained methamphetamine from Davidson, and sold
the methamphetamine to other customers in and around Fort Worth, Texas. In this
manner, Davidson conspired with others to possess methamphetamine with the intent to
distribute it.

On or about January 16, 2018, Burleson Police Department officers in a marked
patrol unit conducted a traffic stop of a vehicle driven by Davidson, who was the sole
occupant. Upon approaching the vehicle, a police officer smelled the odor of marijuana
emitting from the vehicle. The police officer conducted a probable cause search of the
vehicle and located approximately 20 grams of methamphetamine in the trunk. Police
officers also located approximately $13,553 in U.S. currency bundled in small

denominations.

 

 

 

 

 

WILLIE SL APTON DAVIDSON |
Defendant Counsel for Defendant

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